Case 1:05-cv-01050-.]DT-STA Document 11 Filed 06/06/05 Page 1 of 2 Page|D 4

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UNITED STATES DISTRICT COURT 9 "'""-~-~..____“__D C
WESTERN DISTRICT oF TENNESSEE 05 JU~ ' '
EASTERN DIVISION "5 43 9, 38
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DONNIE NEWBLE, D @F~m T Cr_

N

Plaintiff,
v. Civil No. 05-1050 T

COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOWING ADDITIONAL TIME TO FILE BRIEF

 

The defendant's motion for additional time to file brief is granted The defendant shall file

QWAM

Unitec?i ates District Court Judge

Date:[?f n%w( M&__

their brief on May 31, 2005.

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This notice confirms a copy cfthc document docketed as number 11 in
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US DISTRICT COURT

